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                           UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NEW YORK

                                                  )
DARRYL BOYD,                                      )
                                                  )
                                   Plaintiff,     )       Case No. 1:22-cv-519
                                                  )
                    - against -                   )
                                                  )       DECLARATION OF DAVID E.
THE COUNTY OF ERIE,                               )       RUDIN IN SUPPORT OF
                                                  )       MOTION FOR SUBSTITUTION
                                   Defendant.     )       OF PLAINTIFF


         David E. Rudin, an attorney admitted to practice in the State of New York, hereby declares

pursuant to 28 U.S.C. § 1746, under the penalties of perjury, as follows:

         1.     I am an attorney for Kathleen Weppner, as Executor of the Estate of Darryl Boyd.

I provide this declaration in support of Ms. Weppner’s Motion to Substitute Parties.

         2.     Attached as Exhibit 1 is a true and accurate copy of Letters Testamentary issued

to Kathleen Weppner authorizing her as fiduciary of the estate of Darryl Boyd.

         3.     Attached as Exhibit 2 is a true and accurate copy of the Surrogate’s Court Decree

appointing Kathleen Weppner as Executor of Darryl Boyd’s estate.

         4.     Attached as Exhibit 3 is a true and accurate copy of a Certificate of Appointment

of Executor issued to Kathleen Weppner.

Dated:          April 14, 2025                        /s/ David E. Rudin
                                                      David E. Rudin
                                                      LAW OFFICES OF JOEL B. RUDIN, P.C.
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                                                      Attorney for Kathleen Weppner, as Executor
                                                      of the Estate of Darryl Boyd

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